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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSSETS


 IN RE: RANBAXY GENERIC DRUG                              MDL No. 2878
 APPLICATION ANTITRUST
 LITIGATION


 THIS DOCUMENT RELATES TO:
 Meijer, Inc., et al. v. Ranbaxy, Inc., et al., No.
 15-cv-11828, (D. Mass.)

 Meijer, Inc., et al. v. Ranbaxy, Inc., et al., No.
 18-cv-12129, (D. Mass.)

 César Castillo, Inc. v. Ranbaxy Inc., et al.,
 No. 18-cv-06126 (E.D.N.Y.)
                                                            Master File No. 19-md-02878-NMG
 United Food and Commercial Workers
 Health and Welfare Fund of Northeastern
 Pennsylvania v. Ranbaxy Inc., et al., No. 18-
 cv-04807 (E.D. Pa.)

 Louisiana Health Services and Indemnity
 Company d/b/a Blue Cross and Blue Shield
 of Louisiana, et al. v. Ranbaxy Inc., et al.,
 No. 19-cv-10274 (D. Mass)


 MEMORANDUM OF LAW IN SUPPORT OF PLANTIFFS’ UNOPPOSED MOTION
  FOR ENTRY OF CASE MANAGEMENT ORDER NO. 1 CONSOLIDATING AND
                 COORDINATING RELATED ACTIONS

       Pursuant to 42(a) and 15(a) of the Federal Rules of Civil Procedure, plaintiffs

Meijer, Inc.; Meijer Distribution, Inc. (collectively “Meijer”); César Castillo, Inc. (“CCI”);

United Food and Commercial Workers Health and Welfare Fund of Northeastern

Pennsylvania (“UFCW”); Louisiana Health Services and Indemnity Company d/b/a

Blue Cross and Blue Shield of Louisiana (“BCBSLA”); and HMO Louisiana, Inc.

(“HMOLA”) (collectively, “Plaintiffs”) respectfully submit this memorandum of law in
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support of their motion for entry of Proposed Case Management Order No. 1, which

would: (1) consolidate the direct-purchaser class actions that have been filed or will be

filed or transferred to this District (the “DPP Actions”); (2) consolidate the end-payor

class actions that have been filed or will be filed or transferred to this District (the “EPP

Actions”); (3) coordinate the two consolidated actions and any subsequently-filed related

actions so that the DPP actions and EPP actions would proceed as if they were a single

action for purposes of all pre-trial proceedings, with a decision on consolidation for trial

purposes being reserved;1 and (4) grant leave to file consolidated class action complaints

on behalf of direct purchasers and end-payors. Defendants dispute Plaintiffs’

substantive allegations but do not oppose the relief sought in this Motion.

                                          BACKGROUND

        These cases arise out of alleged misconduct on the part of defendants Ranbaxy

Inc. and Sun Pharmaceutical Industries Limited (collectively, “Ranbaxy” or

“Defendants”),2 which Plaintiffs claim caused delayed market entry three generic drugs:

Diovan, Valcyte, and Nexium. Plaintiffs allege that: (1) Ranbaxy, one of the world’s

largest generic pharmaceutical manufacturers, pursued an aggressive business growth

strategy at the expense of quality and integrity; and (2) in utter disregard of the U.S.

Food and Drug Administration’s (“FDA”) regulatory requirements for generic drug



        1 To further streamline the prosecution of these cases, counsel for the proposed direct purchaser

class and counsel for the proposed end-payor class are separately filing motions seeking the
appointment of interim class counsel for each class.
        2 Plaintiffs also allege misconduct by Ranbaxy Laboratories Limited and Ranbaxy USA, Inc.,
both of which are no longer in existence. Ranbaxy USA, Inc. was dissolved in October 2014. Ranbaxy
Laboratories Limited merged into defendant Sun Pharmaceutical Industries Limited in March 2015. See
Meijer v. Ranbaxy, Inc., 15-cv-11828, ECF No. 52, at 8.

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approval, Ranbaxy embraced an internal corporate culture that, inter alia, encouraged

employees to ignore storage protocols, forge test results, falsify data, and retroactively

create records after failing to properly document practices and findings. Plaintiffs

further claim that because of Ranbaxy’s alleged misconduct and delay tactics, generic

competition was delayed and the plaintiffs paid supracompetitive prices for brand

Diovan, Nexium, and Valcyte products and (once they eventually came to market) their

generic equivalents when safe, effective, and cheaper generic alternative(s) should have

been available. Defendants dispute these allegations and the Plaintiffs’ claims for relief.

        Meijer filed the first action on May 12, 2015, seeking damages related to two

specific drugs, Diovan and Valcyte (the “Meijer I action”).3 On June 16, 2016,

Magistrate Judge Kelley issued an opinion recommending the denial of Defendants’

motion to dismiss,4 which this Court adopted on September 7, 2016.5 This Court then

issued a stay6 while defendants petitioned for interlocutory appeal.7 On October 11,

2018, Meijer filed a separate action, also in the District of Massachusetts, seeking

damages with respect to a third drug – Nexium (the “Meijer II action”).8 On November

1, 2018, César Castillo, Inc. (“CCI”), another direct purchaser, filed an action in the

Eastern District of New York (the “CCI action”).9 On November 6, UFCW filed an


        3   Meijer, Inc., et al. v. Ranbaxy, Inc., et al., No. 15-cv-11828, [Dkt 1] (D. Mass. May 12, 2015).
        4   Meijer, Inc., et al. v. Ranbaxy, Inc., et al., No. 15-cv-11828, [Dkt 52] (D. Mass. June 16, 2016)
        5   Meijer, Inc., et al. v. Ranbaxy, Inc., et al., No. 15-cv-11828, [Dkt 80] (D. Mass. Sept. 7, 2016).
        6   Meijer, Inc., et al. v. Ranbaxy, Inc., et al., No. 15-cv-11828, [Dkt 133] (D. Mass. June 15, 2017).
        7   Ranbaxy, Inc., et al. v. Meijer, Inc., et al., No. 17-8008, (1st Cir. Apr. 7, 2017)
        8Compl., Meijer Inc. v. Ranbaxy Inc., et al., No. 18-cv-12129 (D. Mass., filed Oct. 11, 2018). This
action was filed as related to the original action and has been assigned to the same Judge.
        9   Compl., César Castillo, Inc. v. Ranbaxy Inc., et al., No. 18-cv-06126 (E.D.N.Y., filed Nov. 1, 2018).

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action on behalf of an end-payor class in the Eastern District of Pennsylvania (the

“UFCW Action”).10 CCI then filed a motion with the Judicial Panel on Multidistrict

Litigation (the “Panel”) seeking to transfer and consolidate or coordinate the four

actions.

        The First Circuit Court of Appeals denied Defendants’ petition on December 28,

2018.11

        On February 11, 2019, following a hearing on CCI’s motion, the Panel entered a

transfer order directing that the Meijer I action, the Meijer II action, the CCI action,

and the UFCW action be transferred to this Court for coordinated or consolidated

pretrial proceedings.12 On February 13, 2019, BCBSLA and HMOLA filed a related

end-payor action in this district (“the BCBS-LA Action”).13

        Named Plaintiffs in the actions seek to represent two different groups of

proposed classes, bringing overlapping sets of legal claims. The Meijer I action, Meijer

II action, and CCI action (collectively, the “DPP Actions,” filed by the “DPPs”) seek to

represent direct purchaser plaintiffs14 and allege violations of RICO and the Sherman

Act. The UFCW action and BCBS-LA action (collectively, the “EPP Actions” filed by




         Compl., United Food and Commercial Health and Welfare Fund of Northeastern Pennsylvania v.
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Ranbaxy Inc., et al., No. 18-cv-04807 (D. Mass., filed Nov. 6, 2018).
        11   Ranbaxy, Inc., et al. v. Meijer, Inc., et al., No. 17-8008 (1st Cir. Dec. 28, 2018)
        12   In re Ranbaxy Generic Drug Application Antitrust Litig., [Dkt 36] (JPML, Feb. 11, 2018).
        13 Compl., La. Health Servs. and Indem. Co. d/b/a Blue Cross and Blue Shield of La. and HMO La.,
Inc. v. Ranbaxy, Inc., et al., No. 19-cv-10274 [Dkt 1] (D. Mass. Feb. 13, 2019).
       14 Plaintiffs use the term direct purchasers to represent plaintiffs who purchase directly from the

drug manufacturer, such as drug wholesalers.

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the “EPPs”) seek to represent end-payor plaintiffs15 and allege violations of RICO, the

Sherman Act,16 state antitrust laws, and state consumer protection laws. The DPP

Actions and EPP Actions each share common questions of fact but seek to represent

different classes based on different causes of action and have different injuries subject to

different standing analyses. Consolidating the DPP Actions and EPP Actions

separately, with joint coordination for discovery and other pretrial purposes will ensure

efficient and consistent management of this litigation pursuant to Federal Rule 42(a).

                                              DISCUSSION

        I.        The DPP actions and EPP actions should be separately consolidated,
                  but jointly coordinated.

        Federal Rule of Civil Procedure 42(a) permits the consolidation of two or more

cases where, as here, the matters involve “a common question of law or fact.”17 The

threshold question is whether the cases involve a common party and common issues of

fact or law; if so, the court has broad discretion in weighing the costs and benefits of

consolidation.18 In exercising this discretion, the court should consider factors such as

judicial economy; potential savings in time, effort or expense; and any confusion,

prejudice or delay that may result from consolidation.19 When two cases involve


        15Plaintiffs use the term “end-payor” instead of the broader term “indirect purchaser” to
distinguish purchasers at the end of the distribution chain (such as consumers and third-party payors)
from retailers and other financial intermediaries (such as retailers and pharmaceutical benefit managers).
        16   Only the BCBS-LA Action brought claims under the Sherman Act.
        17  Fed. R. Civ. P. 42(a); see also Transfer Order, In re: Ranbaxy Generic Drug Application Antitrust
Litig., at 1 (JPML Feb. 11, 2019) (summarizing the factual allegations of the complaints).
        18Messere v. Spencer, No. 11-cv-11705, 2013 WL 1327391, at *2 (D. Mass. Mar. 29, 2013) (citing
Seguro de Servicio de Salud de P.R. v. McAuto Sys. Grp., Inc., 875 F.2d 5, 8 (1st Cir. 1989)).
       19 Messere, 2013 WL 1327391, at *2 (citing Cruickshank v. Clean Seas Co., 402 F. Supp.2d 328, 341

(D. Mass. 2005).

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common issues of law and fact and a common party, the motion to consolidate

ordinarily will be granted unless the opposing party shows “demonstrable prejudice.”20

Where there is no opposition to consolidation, courts ordinarily do not hesitate to

consolidate.21

        As underscored by the JPML’s Transfer Order, “these actions involve common

questions of fact.” The actions involve identical defendants, nearly identical facts, and

many overlapping legal claims. These are precisely the circumstances consolidation was

designed to benefit and precisely why the JPML ordered centralization: to “promote the

just and efficient conduct of this litigation.”22 The DPP Actions and EPP Actions allege

that Ranbaxy wrongfully obtained, fraudulently locked-in, and then abused the first-to-

file, 180-day exclusivity period for various pharmaceutical drugs, including Nexium,

Valcyte, and Diovan. Ranbaxy then used this exclusivity to prevent the market entry of

other would-be generics in violation of federal Racketeer Influenced and Corrupt

Organizations Act (“RICO”), federal antitrust statutes, state antitrust laws, and state

consumer protection laws.

        Discovery of evidence and witnesses in these actions will be substantially similar

and coordination will prevent wasteful duplication of time and resources. As the Panel



        20   Seguro de Servicio de Salud de P.R. v. McAuto Sys. Grp., Inc., 875 F.2d 5, 8 (1st Cir. 1989).
         21 See In re PRI Automation, Inc. Sec. Litig., 145 F. Supp. 2d 138, 140 (D. Mass. 2001) (because the

actions involve “the same named defendants and the same allegations in support of the same
claims…substantial benefit will accrue from consolidation,” such as “fair and efficient adjudication on the
merits without wasteful duplicative proceedings.”); See also Cruickshank v. Clean Seas Co., 402 F. Supp. 2d
328, 341 (D. Mass. 2005) (Consolidating actions involving common parties, nearly identical facts, and
overlapping legal claims).
        22 Transfer Order, In re: Ranbaxy Generic Drug Application Antitrust Litig., at 1 (JPML Feb. 11,

2019) (summarizing the factual allegations of the complaints).

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noted, all of the cases “present complex questions of fact and will involve complex

economic analysis, discovery of foreign defendants and issues of regulatory compliance.”23

Pharmaceutical litigation is highly complex and this case will likely involve extensive

discovery, numerous depositions, and sophisticated expert analysis, warranting

consolidation and coordination to minimize duplicative discovery and inconsistent

rulings. The Panel emphasized this in their transfer order, concluding that centralization

would “prevent inconsistent rulings (including with respect to class certification) and

overlapping pretrial obligations, reduce costs, and create efficiencies for the parties,

courts, and witnesses.”24

        Because DPPs and EPPs seek to represent different classes, with different sets of

legal claims and different injuries subject to different standing analyses, they should be

consolidated separately, but coordinated on a master docket. DPPs and EPPs both assert

claims arising out of the same unlawful conduct, but DPPs have standing to seek

monetary damages under, inter alia, Section 4 of the Clayton Act25 based on Illinois Brick,26

while end-payors do not. End-payors alternatively have claims for damages under state

antitrust and consumer protection statutes.27 Coordination – with end-payors and direct

purchasers proceeding on the same schedule and avoiding duplication whenever possible

– will ensure that the cases advance in an efficient and administratively convenient


        23   Id. at 2.
        24 Id. at 1. The BCBS-LA action, which was not before the panel, is likewise based on the same

course of conduct and will require much of the same discovery.
        25   15 U.S.C. § 15
        26   Illinois Brick Co. v. Illinois, 431 U.S. 720, 729 (1977)
        27   Id.

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manner while accounting for the differences between the two plaintiff groups and the

claims they assert. Courts presiding over antitrust matters, particularly in the

pharmaceutical industry, routinely adopt this practice of separately consolidating DPPs

and EPPs, but jointly coordinating them for pre-trial proceedings. See e.g. In Re Restasis

(Cyclosporine Ophthalmic Emulsion) Antitrust Litigation, No. 18-md-2819-NG-LB

(E.D.N.Y); In Re: Zetia (Eztimibe) Antitrust Litigation, No. 18-md-02836 (E.D.Va.); In Re

Asacol Antitrust Litigation, No. 15-cv-12730 (D. Mass); In re Generic Pharmaceuticals Pricing

Antitrust Litig., No. 16-md-2724 (E.D. Pa.); In re Nexium (esomeprazole) Antitrust Litig., No.

12-md-2409 (D. Mass).

       II.    The Court Should Order the Filing of Consolidated Complaints.

       Courts routinely grant leave for a consolidated complaint following transfer and

centralization or consolidation in order to streamline and manage the litigation based

on a master pleading. See MANUAL §21.25 (“If all the cases are pending in federal court

and have been centralized by an MDL proceeding, the transferee court can order

consolidated pleadings”). In accordance with their respective consolidation, DPPs and

EPPs should each file consolidated class action complaints promptly upon the issuance

of such an order. Defendants dispute Plaintiffs’ substantive allegations in the various

complaints, but do not oppose the relief sought by this motion, including Plaintiffs’

filing of consolidated complaints.

                                      CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court enter

Case Management Order No. 1, which (1) consolidates the direct purchaser class


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actions, (2) consolidates the end-payor actions, (3) coordinates the two consolidated

actions pursuant to Rule 42(a) of the Federal Rules of Civil Procedure, and (4) grants

leave for the DPPs and EPPs to file consolidated class action complaints.



Dated: March 1, 2019                    Respectfully submitted,

                                        /s/ Gregory T. Arnold
                                        Thomas M. Sobol (BBO# 471770)
                                        Gregory T. Arnold (BBO# 632738)
                                        Kristie A. LaSalle (BBO #692891)
                                        HAGENS BERMAN SOBOL SHAPIRO LLP
                                        55 Cambridge Parkway, Suite 301
                                        Cambridge, MA 02142
                                        Tel: (617) 482-3700
                                        Fax: (617) 482-3003
                                        tom@hbsslaw.com
                                        grega@hbsslaw.com
                                        kristiel@hbsslaw.com

                                        Steve D. Shadowen (admitted pro hac vice)
                                        Matthew C. Weiner (admitted pro hac vice)
                                        HILLIARD & SHADOWEN LLP
                                        919 Congress Ave., Suite 1325
                                        Austin, TX 78701
                                        Tel: (855) 344-3928
                                        steve@hilliardshadowenlaw.com
                                        matt@Hilliardshadowenlaw.com

                                        John D. Radice (admitted pro hac vice)
                                        RADICE LAW FIRM
                                        34 Sunset Boulevard
                                        Long Beach, NJ 08008
                                        Tel: (646) 245-8502
                                        jradice@radicelawfirm.com




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                           Paul E. Slater (admitted pro hac vice)
                           Matthew T. Slater (admitted pro hac vice)
                           Joseph M. Vanek (admitted pro hac vice)
                           David P. Germaine (admitted pro hac vice)
                           John Bjork (admitted pro hac vice)
                           SPERLING & SLATER, P.C.
                           55 W. Monroe Street, Suite 3500
                           Chicago, IL 60603
                           Tel.: (312) 641-3200
                           pes@sperling-law.com
                           jvanek@sperling-law.com
                           dgermaine@sperling-law.com
                           jbjork@sperling-law.com
                           mslater@sperling-law.com
                           Joseph H. Meltzer (admitted pro hac vice)
                           Terence S. Ziegler (admitted pro hac vice)
                           Ethan J. Barlieb(admitted pro hac vice)
                           KESSLER TOPAZ MELTZER & CHECK, LLP
                           280 King of Prussia Road
                           Radnor, P A 19087
                           Tel: (610) 667-7706
                           jmeltzer@ktmc.com
                           tziegler@ktmc.com
                           ebarlieb@ktmc.com
                           Kenneth A. Wexler (pro hac vice pending)
                           Tyler Story (pro hac vice pending)
                           WEXLER WALLACE LLP
                           55 W. Monroe Street, Suite 3300
                           Chicago, IL 60603
                           Tel: (312) 346-2222
                           kaw@wexlerwallace.com
                           tjs@wexlerwallace.com




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                           Sharon K. Robertson (pro hac vice pending)
                           Donna M. Evans (pro hac vice pending)
                           COHEN MILLSTEIN SELLERS & TOLL PLLC
                           88 Pine Street, 14th Floor
                           New York, NY 10005
                           Tel: (212) 838-7797
                           srobertson@cohenmillstein.com
                           devans@cohenmillstein.com
                           Counsel for Plaintiffs Meijer, Inc., Meijer
                           Distribution, Inc., and the Proposed Class

                           Linda P. Nussbaum
                           Nussbaum Law Group, P.C.
                           1211 Avenue of the Americas, 40th Floor
                           New York, NY 10036-8718
                           (917) 438-9189
                           lnussbaum@nussbaumpc.com

                           Counsel for Plaintiff César Castillo, Inc. and the
                           Proposed Class

                           Gerald Lawrence (PA ID #69079)
                           Julia R. McGrath (PA ID #323771)
                           Renee A. Nolan (PA ID #316558)
                           Lowey Dannenberg, P.C.
                           One Tower Bridge
                           100 Front Street, Suite 520
                           West Conshohocken, PA 19428
                           Tel: (215) 399-4770
                           glawrence@lowey.com
                           jmcgrath@lowey.com
                           rnolan@lowey.com

                           Peter D. St. Phillip (PA ID # 70027)
                           Lowey Dannenberg, P.C.
                           44 South Broadway
                           Suite 1100
                           White Plains, New York 10601
                           Tel:(914) 997-0500
                           pstphillip@lowey.com

                           Counsel for Plaintiff United Food and Commercial
                           Workers Health and Welfare Fund of Northeastern
                           Pennsylvania
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                           James R. Dugan, II
                           David S. Scalia
                           Doug Plymale
                           Bonnie Kendrick
                           Jessica H. Kish (BBO #560478)
                           The Dugan Law Firm, APLC
                           One Canal Place – Suite 1000
                           365 Canal Street
                           New Orleans, LA70130
                           (504) 648-0180
                           jdugan@dugan-lawfirm.com
                           dscalia@dugan-lawfirm.com
                           dplymale@dugan-lawfirm.com
                           bonnie@dugan-lawfirm.com
                           jessica@dugan-lawfirm.com

                           Allison Pham
                           Jessica Chapman
                           Charles A. O’Brien
                           Blue Cross and Blue Shield of Louisiana
                           5525 Reitz Avenue
                           P.O. Box 98029
                           Baton Rouge, Louisiana 80809
                           Tel.: (225) 295-2454
                           Fax: (225) 297-2760

                           Counsel for Louisiana Health Service and
                           Indemnity Company d/b/a Blue Cross and Blue
                           Shield of Louisiana, and HMO La., Inc.




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                             CERTIFICATE OF SERVICE

       I, Gregory T. Arnold, hereby certify that I caused a copy of the foregoing to be

filed electronically via the Court’s electronic filing system. Those attorneys who are

registered with the Court’s electronic filing system may access these filings through the

Court’s system, and notice of these filings will be sent to these parties by operation of

the Court’s electronic filing system.


Dated: March 1, 2019                                    /s/ Gregory T. Arnold
                                                        Gregory T. Arnold



         CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(2)

       I, Gregory T. Arnold, hereby certify that counsel for the direct purchasers and

defendants have met and conferred concerning this motion.

Dated: March 1, 2019                                    /s/ Gregory T. Arnold
                                                        Gregory T. Arnold




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